                                      IN THE
                              TENTH COURT OF APPEALS

                                      No. 10-16-00254-CV

             IN THE INTEREST OF H.L.H. AND A.H., CHILDREN



                               From the 413th District Court
                                  Johnson County, Texas
                              Trial Court No. DC-D201500336


                                             ORDER


        C.M.W. and M.K.H. each filed a first amended notice of appeal challenging the

trial court’s July 27, 2016 “Final Order of Termination” in trial court cause number DC-

D201500336.1 Kimberly Gore also filed her notice of appeal challenging the trial court’s

July 5, 2016 order denying her original verified petition in intervention in trial court cause

number DC-D201500336. The notices of appeal were assigned a single appellate cause




1C.M.W.’s and M.K.H.’s original notices of appeal challenged an order that was indisputably interlocutory;
therefore, their appeal was dismissed for want of jurisdiction. In re H.L.H., No. 10-16-00111-CV, 2016 WL
3224798, at *1 (Tex. App.—Waco Jun. 9, 2016, no pet.) (mem. op.).
number—10-16-00254-CV. See TEX. R. APP. P. 12.2(c) (“All notices of appeal filed in the

same case must be given the same docket number.”).

          On September 13, 2016, this Court received the appellant’s briefs for C.M.W. and

M.K.H. However, no brief has been filed for Gore. Accordingly, in a letter dated

September 22, 2016, the Clerk of this Court notified Gore that, under Texas Rules of

Appellate Procedure 38.8(a)(1) and 42.3, the Court may dismiss her appeal for want of

prosecution unless, within twenty-one days of the date of the letter, she filed with the

Court a response showing grounds for continuing the appeal. See id. at R. 38.8(a)(1),

42.3(b).

          More than twenty-one days have passed, and we have received no response from

Gore. Accordingly, we dismiss Gore’s appeal for want of prosecution. 2 See id. at R.

42.3(b).

                                                    PER CURIAM

Before Chief Justice Gray,
       Justice Davis, and
       Justice Scoggins
Order issued and filed November 16, 2016
Do not publish
[CV06]




2   C.M.W.’s and M.K.H.’s appeals remain pending.
In the Interest of H.L.H. and A.H., Children                                        Page 2
